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     EMI Christian Music Grp., Inc. et al. v. MP3tunes, LLC et al.

 1                      UNITED STATES COURT OF APPEALS
 2                          FOR THE SECOND CIRCUIT
 3
 4                                    August Term, 2015
 5
 6            (Argued: May 11, 2016                   Decided: October 25, 2016)
 7
 8                     Docket Nos. 14‐4369‐cv(L), 14‐4509‐cv(XAP)
 9
10                        _____________________________________
11      EMI CHRISTIAN MUSIC GROUP, INCORPORATED, PRIORITY
12   RECORDS LLC, BEECHWOOD MUSIC CORPORATION, COLGEMS‐EMI
13   MUSIC, INCORPORATED, EMI APRIL MUSIC, INC., EMI BLACKWOOD
14     MUSIC, INC., EMI FULL KEEL MUSIC, INC., EMI GOLDEN TORCH
15      MUSIC CORPORATION, EMI LONGITUDE MUSIC, EMI VIRGIN
16     MUSIC, INC., EMI VIRGIN SONGS, INC., CAPITOL RECORDS, LLC,
17
18               Plaintiffs‐Counter‐Defendants‐Appellees‐Cross‐Appellants,
19
20       EMI AL GALLICO MUSIC CORPORATION, EMI ALGEE MUSIC
21    CORPORATION, EMI FEIST CATALOG, INC., EMI GOLD HORIZON
22      MUSIC CORP., EMI GROVE PARK MUSIC, INCORPORATED, EMI
23        HASTINGS CATALOG, INCORPORATED, EMI MILLS MUSIC,
24     INCORPORATED, EMI MILLER CATALOG, INCORPORATED, EMI
25    ROBBINS CATALOG, INCORPORATED, EMI U CATALOG, INC., EMI
26           UNART CATALOG INC., JOBETE MUSIC COMPANY,
27      INCORPORATED, SCREEN GEMS‐EMI MUSIC, INCORPORATED,
28            STONE AGATE MUSIC, STONE DIAMOND MUSIC
29                          CORPORATION,
30
31                           Plaintiffs‐Appellees‐Cross‐Appellants,
32
33                                               v.
34
35                                     MP3TUNES, LLC,
36
37                      Defendant‐Counter‐Claimant‐Cross‐Appellee,

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 1
 2                                MICHAEL ROBERTSON,
 3
 4                           Defendant‐Appellant‐Cross‐Appellee.*
 5
 6                        _____________________________________
 7
 8   Before:
 9
10                 CABRANES, STRAUB, and LOHIER, Circuit Judges.
11
12          In this appeal, we principally address one requirement of the Digital
13   Millennium Copyright Act (“DMCA”) safe harbor: that an internet service
14   provider “adopt[] and reasonably implement[]” a policy to terminate
15   “repeat infringers.” 17 U.S.C. § 512. The plaintiffs, all record companies
16   and music publishers, brought this copyright infringement suit against
17   MP3tunes, LLC and its founder and Chief Executive Officer Michael
18   Robertson. The plaintiffs alleged that two websites created by MP3tunes—
19   MP3tunes.com, which primarily served as a locker service for storing
20   digital music, and sideload.com, which allowed users to search for free
21   music on the internet—infringed their copyrights in thousands of sound
22   recordings and musical compositions. After the parties filed cross‐motions
23   for summary judgment, the United States District Court for the Southern
24   District of New York (Pauley, J.) determined, among other things, that
25   MP3tunes had a reasonably implemented repeat infringer policy. A jury
26   ultimately returned a verdict in favor of the plaintiffs that was partially
27   overturned by the District Court. We AFFIRM in part, VACATE in part,
28   REVERSE in part, and REMAND for further proceedings.
29
30                                 ANDREW H. BART (Frank P. Scibilia, M. Mona
31                                 Simonian, Ross M. Bagley, Pryor Cashman LLP,
32                                 New York, NY, Luke C. Platzer, J. Douglas
33                                 Wilson, Jenner & Block LLP, Washington, DC, on
34                                 the brief), Jenner & Block LLP, New York, NY, for
35                                 Plaintiffs‐Appellees‐Cross‐Appellants.
36



     * The Clerk of Court is directed to amend the official caption to conform
     with the above.
                                                 2
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 1                                 IRA S. SACKS (Mark S. Lafayette, Jamie B. Shyman,
 2                                 Patricia M. Carlson, on the brief), Akerman LLP,
 3                                 New York, NY, for Defendant‐Appellant‐Cross‐
 4                                 Appellee.
 5
 6   LOHIER, Circuit Judge:

 7          In this appeal we principally consider the requirement of the Digital

 8   Millennium Copyright Act (“DMCA”) safe harbor that an internet service

 9   provider “adopt[] and reasonably implement[]” a policy to terminate

10   “repeat infringers.” 17 U.S.C. § 512. Plaintiffs‐appellees‐cross‐appellants

11   are all record companies and music publishers. They filed this copyright

12   infringement lawsuit against MP3tunes, LLC and its founder and Chief

13   Executive Officer Michael Robertson,1 alleging that two internet music

14   services created by MP3tunes infringed their copyrights in thousands of

15   sound recordings and musical compositions. The two services are

16   MP3tunes.com, which primarily operated as a locker service for storing

17   digital music, and sideload.com, which allowed users to search for free

18   music on the internet.

19          On summary judgment, the United States District Court for the

20   Southern District of New York (Pauley, J.) granted partial summary



     1MP3tunes declared bankruptcy approximately two years before this case
     proceeded to trial. It is not a party to this appeal.
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 1   judgment to the defendants, holding that MP3tunes had a reasonably

 2   implemented repeat infringer policy under § 512. A jury ultimately

 3   returned a verdict in favor of the plaintiffs, but the District Court partially

 4   overturned the verdict.

 5          For reasons we explain below: (1) we VACATE the District Court’s

 6   grant of partial summary judgment to the defendants based on its

 7   conclusion that MP3tunes qualified for safe harbor protection under the

 8   DMCA because the District Court applied too narrow a definition of

 9   “repeat infringer”; (2) we REVERSE the District Court’s grant of judgment

10   as a matter of law to the defendants on claims that MP3tunes permitted

11   infringement of plaintiffs’ copyrights in pre‐2007 MP3s and Beatles songs

12   because there was sufficient evidence to allow a reasonable jury to

13   conclude that MP3tunes had red‐flag knowledge of, or was willfully blind

14   to, infringing activity involving those categories of protected material; (3)

15   we REMAND for further proceedings related to claims arising out of the

16   District Court’s grant of partial summary judgment; and (4) we AFFIRM

17   the judgment in all other respects.




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 1                                     BACKGROUND

 2       I.      MP3tunes.com and Sideload.com

 3            Robertson founded MP3tunes in 2005. It is undisputed that, by then,

 4   Robertson was familiar with both the online music industry and copyright

 5   litigation, having previously run the music site MP3.com, against which a

 6   copyright infringement judgment was entered in 2000. See UMG

 7   Recordings, Inc. v. MP3.com, Inc., 92 F. Supp. 2d 349, 350 (S.D.N.Y. 2000).

 8   While recruiting for MP3tunes several years later, Robertson emphasized,

 9   “[T]his will be VERY big news. Major labels selling MP3s. MP3.com guy

10   back to rejuvenate MP3 business. Largest copyright infringer of all time

11   back at it again. Lots of juicy press angles.”2

12            MP3tunes.com was MP3tunes’s first project. Initially, customers

13   could visit MP3Tunes.com and purchase MP3 versions of music created by

14   musicians who were not associated with major record labels. In 2005

15   MP3tunes.com added a “locker storage” service, which charged users a fee

16   to store music on the MP3tunes server. A user who uploaded songs to her

     2An MP3, otherwise known as an MPEG‐1 Audio Layer 3, is a common
     digital audio compression algorithm used to make an audio file smaller
     without significantly reducing sound quality. See Recording Indus. Ass’n
     of Am. v. Diamond Multimedia Sys., Inc., 180 F.3d 1072, 1074 (9th Cir.
     1999).
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 1   “locker” (through LockerSync, a free plugin on the site) could play the

 2   music through other internet‐enabled devices.

 3          MP3tunes owned and operated a second website, sideload.com, that

 4   allowed users to search for free music on the internet. Sideload.com

 5   offered a free plug‐in to enable users to “sideload” (or upload directly to

 6   their MP3tunes lockers) free songs that they found on sideload.com. Songs

 7   sideloaded into users’ lockers were then added to sideload.com’s index of

 8   searchable songs. This meant that the more songs users sideloaded from

 9   the internet, the more free music became available through the website.

10   MP3tunes’s executives, including Robertson, used their own accounts with

11   MP3tunes to store sideloaded songs.

12          Users of MP3tunes.com could store a certain amount of music

13   through the service for free and could purchase additional storage space

14   for tiered fees, while storage associated with sideloaded songs did not

15   count against the free storage limit. Partly as a result, sideload.com

16   became “the most effective partner in driving traffic to [MP3tunes’s] locker

17   service.” Joint App’x 1930. At Robertson’s direction, MP3tunes strove to

18   expand sideload.com’s catalog by encouraging users to upload songs to



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 1   the sideload.com index. For example, members of MP3tunes’s staff were

 2   encouraged to upload songs from their own accounts, even when those

 3   songs came from websites that appeared to contain infringing material.

 4   Robertson directed MP3tunes employee Sharmaine Lindahl to provide

 5   MP3tunes employees a list of sites featuring free MP3s “for sideloading

 6   purposes.” Joint App’x 1241. Lindahl observed that one of the sites on the

 7   list “look[ed] to be mainly pirated music.” Joint App’x 1239. MP3tunes

 8   also encouraged repeated sideloading among MP3tunes.com users by

 9   creating a “Sideload Hall of Fame” consisting of the “top 25 Sideloaders

10   with accounts at MP3tunes.com.”

11          In October 2006 MP3tunes added a cover art feature. When a user

12   began to “sync” or upload a song to her locker and cover art was not part

13   of the music file, MP3tunes’s software would “automatically go check

14   for . . . cover art” provided on Amazon.com and download the cover art to

15   MP3tunes’s servers. Although MP3tunes had two agreements with

16   Amazon, an Amazon operations analyst testified at trial that the copying

17   of cover art violated the agreements. The analyst explained that “there

18   was no reference to Amazon around th[e] cover image[s]” and that the



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 1   display of the cover art therefore “was not being used for the primary

 2   purpose of driving traffic to Amazon,” as the agreements required.

 3       II.      Procedural History

 4             In 2010 the parties cross‐moved for summary judgment. The District

 5   Court granted the plaintiffs’ summary judgment motion on certain claims

 6   that are not the subject of this appeal, including the claims of direct

 7   infringement by Robertson for the songs he personally sideloaded. The

 8   District Court also granted the defendants summary judgment on other

 9   claims on the ground that MP3tunes qualified for safe harbor protection

10   under the DMCA and that the safe harbor barred the plaintiffs’ state‐law

11   claims for infringement of recordings “fixed” before February 15, 1972.3

12   The District Court also addressed § 512(i)(1)(A)’s requirement that a

13   service provider “adopt[] and reasonably implement[] . . . a policy that

14   provides for the termination in appropriate circumstances of

15   subscribers . . . who are repeat infringers.” The District Court held that

     3A recording is “fixed” in this context when it is embodied in a permanent
     or stable medium that can be perceived, reproduced, or otherwise
     communicated. 17 U.S.C. § 101; see also Copyright Office, Copyright
     Registration for Sound Recordings, Copyright Circular #56, at 1 (the
     copyright law of the United States defines “sound recordings” as “works
     that result from the fixation of a series of musical, spoken, or other
     sounds”).
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 1   MP3tunes had such a policy because it “demonstrated that it has a

 2   procedure for responding to DMCA takedown notifications and does not

 3   interfere with copyright owners’ ability to issue such notices.” Capitol

 4   Records, Inc. v. MP3tunes, LLC, 821 F. Supp. 2d 627, 639 (S.D.N.Y. 2011).

 5   As proof of the existence and effectiveness of the procedure, the District

 6   Court pointed out that MP3tunes had “terminated the accounts of 153

 7   users who allowed others to access their lockers and copy music files

 8   without authorization.” Id. Finally, in a separate ruling related to

 9   Robertson’s motion for summary judgment, the District Court determined

10   that it had personal jurisdiction over Robertson because “MP3tunes did a

11   significant amount of business with New York customers and Robertson

12   exercised extensive control over MP3tunes.” Special App’x 76.

13          Prompted by our subsequent decision in Viacom International, Inc.

14   v. YouTube, Inc., 676 F.3d 19 (2d Cir. 2012), the District Court partially

15   reconsidered its ruling that MP3tunes qualified for safe harbor protection

16   under the DMCA. Whether MP3tunes was barred from the DMCA’s safe

17   harbor protection (because it was willfully blind to or had red‐flag




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 1   knowledge of infringing activity), it held, actually presented a question of

 2   fact that a jury had to decide, not a question of law.

 3           The case thereafter proceeded to trial before a jury, which returned a

 4   verdict for the plaintiffs and awarded them approximately $48 million,

 5   $7.5 million of which constituted punitive damages against Robertson.

 6   The District Court then granted judgment as a matter of law as to some of

 7   the claims. It reversed the jury’s finding that MP3tunes was willfully blind

 8   or had red‐flag knowledge regarding several different categories of songs

 9   on the ground that there was insufficient evidence of willful blindness or

10   red‐flag knowledge. Finally, it reduced the punitive damages award

11   against Robertson to $750,000 on the ground that the $7.5 million punitive

12   damages award violated due process.

13           This appeal and cross‐appeal followed.

14                                       DISCUSSION

15      I.      The Plaintiffs’ Appeal

16           The plaintiffs challenge three rulings made by the District Court:

17   first, that MP3tunes reasonably implemented a repeat infringer policy and

18   was eligible for DMCA safe harbor protection for pre‐ and post‐1972



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 1   songs; second, that the jury’s finding of red‐flag knowledge or willful

 2   blindness with respect to certain categories of songs was wrong as a matter

 3   of law; and third, that the plaintiffs were entitled to only one award of

 4   statutory damages for songs where the copyright to the musical

 5   composition and the copyright to the sound recording were owned by

 6   different holders.

 7          We address each of these challenges.

 8          A. “Reasonably Implemented” Repeat Infringer Policy

 9          The DMCA shields a service provider from liability for the

10   infringing acts of its users if the provider satisfies certain conditions. One

11   of those conditions requires that a service provider “adopt[] and

12   reasonably implement[] . . . a policy that provides for the termination in

13   appropriate circumstances of subscribers and account holders of the

14   service provider’s system or network who are repeat infringers.” 17 U.S.C.

15   § 512(i)(1)(A). The plaintiffs argue that MP3tunes never reasonably

16   implemented a repeat‐infringer policy because it failed to track users who

17   repeatedly created links to infringing content in the sideload.com index or




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 1   who copied files from those links, which appeared on multiple takedown

 2   notices sent to MP3tunes.

 3          In addressing this argument, we answer two questions: first,

 4   whether certain MP3tunes users qualified as “repeat infringers”; and

 5   second, if so, whether MP3tunes reasonably implemented a policy directed

 6   at them.

 7          We begin with the first question. The District Court held that “[t]he

 8   purpose of subsection 512(i) is to deny protection to websites that tolerate

 9   users who flagrantly disrespect copyrights.” Capitol Records, 821 F. Supp.

10   2d at 637. For the purposes of § 512(i)(1)(A), it defined a “repeat infringer”

11   as a user who posts or uploads infringing content “to the internet for the

12   world to experience or copy” knowing that the conduct infringes another’s

13   copyright. Id. at 638. In contrast, the District Court believed, a user who

14   downloads or copies “songs from third‐party sites for their personal

15   entertainment” could not be a “repeat infringer.”4 Id. The District Court


     4The District Court explained that, unlike users who upload infringing
     content, users who download “content for their personal use and are
     otherwise oblivious to the copyrights of others . . . like MP3tunes users
     who sideload content to their lockers for personal use, do not know for
     certain whether the material they download violates the copyrights of
     others.” Id.
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 1   thus concluded that only users who upload infringing content are “blatant

 2   infringers that internet service providers are obligated to ban from their

 3   websites.” Id.

 4          We reject this definition of a “repeat infringer,” which finds no

 5   support in the text, structure, or legislative history of the DMCA.

 6          Starting with the text, we note that the DMCA does not itself define

 7   “repeat infringers.” But “where a statute does not define a term, we give

 8   the term its ordinary meaning.” Laurent v. PricewaterhouseCoopers LLP,

 9   794 F.3d 272, 281 (2d Cir. 2015) (quotation marks omitted). In this context,

10   we take “repeat” to mean “a person who does something . . . again or

11   repeatedly,” Oxford English Dictionary (3d ed. 2009), while an “infringer”

12   is “[s]omeone who interferes with one of the exclusive rights of a . . .

13   copyright,” Infringer, Black’s Law Dictionary (10th ed. 2014). Copyright

14   infringement is a strict liability offense in the sense that a plaintiff is not

15   required to prove unlawful intent or culpability, see Cartoon Network LP,

16   LLLP v. CSC Holdings, Inc., 536 F.3d 121, 130 (2d Cir. 2008); Shapiro,

17   Bernstein & Co. v. H. L. Green Co., 316 F.2d 304, 308 (2d Cir. 1963), and a

18   user does not have to share copyrighted works in order to infringe a



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 1   copyright, cf. Arista Records, LLC v. Doe 3, 604 F.3d 110, 124 (2d Cir.

 2   2010). In the context of this case, all it takes to be a “repeat infringer” is to

 3   repeatedly upload or download copyrighted material for personal use.

 4          We turn next to the structure and context of the DMCA, interpreting

 5   the term “repeat infringer” against the backdrop of the statute as a whole.

 6   It is important to recall that the DMCA imposes certain requirements on

 7   service providers in exchange for limitations on liability. It would make

 8   little sense to link that limitation on liability to the knowledge of users.5

 9   Indeed, the DMCA explicitly relieves service providers from having to

10   affirmatively monitor their users for infringement—something that would

11   likely be required should MP3tunes have to ascertain its users’ knowledge.

12   See 17 U.S.C. § 512(m)(1) (“Nothing in this section shall be construed to


     5The Nimmer treatise on copyright law similarly links the term “repeat
     infringer” more directly to the knowledge of service providers rather than
     users. See 4 Nimmer on Copyright § 12B.10. The treatise defines an
     “infringer” for the purposes of § 512(i)(1)(A) as follows: “either a party
     who has been adjudicated to have committed copyright infringement, or a
     party about whom the service provider has actual knowledge that s/he has
     engaged in infringement.” Id. § 12B.10[B][3][c]. The treatise cautions that
     a service provider has to have done more than just receive a copyright
     holder’s takedown notices in order to be charged with knowledge of
     infringement. Id. In this case, as will become clear, we need not decide
     whether takedown notices suffice on their own to prove that the provider
     was aware of infringement.
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 1   condition the applicability of [the DMCA safe harbors] on a service

 2   provider monitoring its service or affirmatively seeking facts indicating

 3   infringing activity.”); Viacom, 676 F.3d at 41 (“[T]he safe harbor expressly

 4   disclaims any affirmative monitoring requirement—except to the extent

 5   that such monitoring comprises a ‘standard technical measure’ within the

 6   meaning of § 512(i).”); S. Rep. 105‐190, at 52 (1998); H.R. Rep. 105‐551(II), at

 7   61 (1998) (“[T]he Committee does not intend [the repeat‐infringer policy

 8   requirement] to undermine the principles of new subsection (l) or the

 9   knowledge standard of new subsection (c) by suggesting that a provider

10   must investigate possible infringements, monitor its service, or make

11   difficult judgments as to whether conduct is or is not infringing.”).

12          The legislative history also confirms our view that the District

13   Court’s definition of “repeat infringer” as limited to willful infringement is

14   too narrow. The Senate and House reports accompanying the DMCA

15   recognize a difference between inadvertent and willful infringement. But

16   both reports also assert that a “repeat infringer” requirement is meant to

17   deter those “who repeatedly or flagrantly abuse their access to the Internet

18   through disrespect for the intellectual property rights of others.” S. Rep.



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 1   105‐190, at 52 (1998); H.R. Rep. 105‐551(II), at 61 (1998) (emphasis added).

 2   In other words, the legislative history of the DMCA indicates that a

 3   “repeat infringer” does not need to know of the infringing nature of its

 4   online activities, or to upload rather than download content.

 5          Finally, none of our sister circuits has adopted the District Court’s

 6   definition of “repeat infringer” to include only those who willfully infringe

 7   copyrights. To the contrary, the Seventh Circuit has suggested that the

 8   term covers users of file‐sharing services who are “ignorant or more

 9   commonly disdainful of copyright.” See In re Aimster Copyright Litig.,

10   334 F.3d 643, 645 (7th Cir. 2003).

11          Our view of what Congress meant by the term “repeat infringer”

12   leads us to conclude that the District Court improperly granted summary

13   judgment. Prior to trial, there was clearly enough disputed evidence

14   relating to MP3tunes’s policy regarding infringers to conclude that

15   summary judgment was inappropriate. To show that it reasonably

16   implemented such a policy, MP3tunes proffered evidence at the summary

17   judgment stage that it terminated 153 users who shared locker passwords.

18   In response, though, the plaintiffs demonstrated that MP3tunes did not



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 1   even try to connect known infringing activity of which it became aware

 2   through takedown notices to users who repeatedly created links to that

 3   infringing content in the sideload.com index or who copied files from

 4   those links. See Perfect 10, Inc. v. CCBill LLC, 488 F.3d 1102, 1110 (9th Cir.

 5   2007) (“[A] substantial failure to record webmasters associated with

 6   allegedly infringing websites may raise a genuine issue of material fact as

 7   to the implementation of the service provider’s repeat infringer policy.”).

 8          Furthermore, the plaintiffs presented evidence that MP3tunes

 9   executives were encouraged to and did personally sideload songs from

10   blatantly infringing websites. See Pls.’ Mem. Law Supp. Mot. Summ. J.

11   (07‐cv‐9931 Docket No. 207) 12–14 (citing an email encouraging employees

12   to sideload from a website containing “pirated” music). The same

13   executives made the songs available to sideload.com users. There was also

14   evidence that MP3tunes was capable of cataloging the sideloads of each

15   MP3tunes user. A jury could reasonably infer from that evidence that

16   MP3tunes actually knew of specific repeat infringers and failed to take

17   action.




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 1          A reasonable jury alternatively could have determined that

 2   MP3tunes consciously avoided knowing about specific repeat infringers

 3   using its services, even though the infringement was rampant and obvious.

 4   In Viacom, we held that “the willful blindness doctrine may be applied, in

 5   appropriate circumstances, to demonstrate knowledge or awareness of

 6   specific instances of infringement under the DMCA.” 676 F.3d at 35.

 7   Thus, at trial the plaintiffs could prevail by demonstrating that MP3tunes’s

 8   failure to track users who created links to infringing content identified on

 9   takedown notices or who copied files from those links evidenced its willful

10   blindness to the repeat infringing activity of its users.

11          Our conclusion that the District Court improperly granted partial

12   summary judgment to MP3tunes on the basis of its policy regarding

13   “repeat infringers” is not inconsistent with the DMCA’s provision

14   declaring “that safe harbor protection cannot be conditioned on ‘a service

15   provider monitoring its service or affirmatively seeking facts indicating

16   infringing activity.’” Id. at 41 (quoting 17 U.S.C. § 512(m)(1)). Based on

17   the available evidence, a reasonable jury could have concluded that it was

18   reasonable for MP3tunes to track users who repeatedly created links to



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 1   infringing content in the sideload.com index or who copied files from

 2   those links. See Aimster, 334 F.3d at 655 (“The common element of

 3   [DMCA] safe harbors is that the service provider must do what it can

 4   reasonably be asked to do to prevent the use of its service by ‘repeat

 5   infringers.’”). After all, MP3tunes had already tracked and removed 153

 6   users “who allowed others to access their lockers and copy music files

 7   without authorization,” Capitol Records, 821 F. Supp. 2d at 639; by

 8   comparison, requiring MP3tunes to extend that policy to users who

 9   sideloaded infringing content may not be an unreasonably burdensome

10   request. Furthermore, doing so would not require MP3tunes to “monitor”

11   or “affirmatively seek facts” about infringing activity in a manner

12   inconsistent with § 512(m)(1) because it already had adequate information

13   at its disposal in the form of takedown notices provided by EMI as to

14   which links were allegedly infringing. Cf. Perfect 10, 488 F.3d at 1112–13

15   (declining to hold that the defendant service provider failed to implement

16   its repeat infringer policy in a reasonable manner based on its receipt of

17   takedown notices that did not substantially comply with § 512(c)(3)

18   because the service provider would have had to “cobble together adequate



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 1   notice” and would therefore be “unduly burden[ed]”). MP3tunes would

 2   simply have had to make use of information already within its possession

 3   and connect that information to known users. While the defendants could

 4   yet make the case at trial that it was unreasonable under the circumstances

 5   to ask MP3tunes to identify users who repeatedly infringed plaintiffs’

 6   copyrights by sideloading music files, no evidence available at the

 7   summary judgment stage compelled that conclusion as a matter of law.

 8          For these reasons, we vacate the District Court’s grant of summary

 9   judgment and remand for further proceedings.6

10          B. Red‐Flag Knowledge and Willful Blindness

11          We turn next to the District Court’s determination that the jury’s

12   finding of red‐flag knowledge or willful blindness with respect to certain

13   categories of songs was wrong as a matter of law. We start with the


     6In its summary judgment ruling, the District Court also held that
     MP3tunes was eligible for DMCA protection for pre‐1972 sound
     recordings, which are protected by state rather than federal copyright law.
     The plaintiffs challenge this decision on appeal, but their challenge is
     foreclosed by our recent decision in Capitol Records, LLC v. Vimeo, LLC,
     826 F.3d 78 (2d Cir. 2016). In Vimeo, we held that “the safe harbor
     established by § 512(c) protects a qualifying service provider from liability
     for infringement of copyright under state law.” Id. at 93.



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 1   proposition that even if a service provider has a reasonably implemented

 2   repeat infringer policy, it relinquishes the DMCA’s safe harbor if it, first,

 3   has “actual knowledge that the material or an activity using the material

 4   on the system or network is infringing” or “in the absence of such actual

 5   knowledge, is [] aware of facts or circumstances from which infringing

 6   activity is apparent,” and second, “upon obtaining such knowledge or

 7   awareness, [does not] act[] expeditiously to remove, or disable access to,

 8   the material.” 17 U.S.C. § 512(c)(1)(A); see also 17 U.S.C. § 512(d)(1). At

 9   trial, the plaintiffs contended that MP3tunes was “aware of facts or

10   circumstances from which infringing activity was apparent”—or in other

11   words had “red‐flag knowledge” or willful blindness, see Viacom, 676

12   F.3d at 31, 35, with respect to several categories of songs. The jury found

13   that MP3tunes had knowledge as to four categories of files: (1) those stored

14   on domains identified in takedown notices as having ten or more

15   infringing files; (2) sideloads of MP3s before January 2007; (3) certain

16   sideloads by MP3tunes executives; and (4) works by the Beatles. The

17   District Court upheld the jury’s finding of red‐flag knowledge with respect

18   to certain songs and subsets of songs but granted the defendants judgment



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 1   as a matter of law as to two categories of songs that are the subject of our

 2   review: MP3s from major labels issued before 2007, and all songs by the

 3   Beatles.

 4          We have already explained that the DMCA does not impose “an

 5   amorphous obligation to take commercially reasonable steps in response to

 6   a generalized awareness of infringement.” Viacom, 676 F.3d at 31

 7   (quotation marks omitted). Accordingly, “[o]n the issue of disqualifying

 8   knowledge . . . the burden falls on the copyright owner to demonstrate that

 9   the service provider acquired knowledge of the infringement, or of facts

10   and circumstances from which infringing activity was obvious, and failed

11   to promptly take down the infringing matter, thus forfeiting its right to the

12   safe harbor.” Capitol Records, LLC v. Vimeo, LLC, 826 F.3d 78, 95 (2d Cir.

13   2016). In other words, a copyright owner must point to a defendant’s

14   “actual knowledge or awareness of facts or circumstances that indicate

15   specific and identifiable instances of infringement.” Viacom, 676 F.3d at

16   32.

17          With this principle in mind, we conclude that the trial evidence in

18   this case, viewed in the light most favorable to the plaintiffs, see Izzarelli v.



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 1   R.J. Reynolds Tobacco Co., 731 F.3d 164, 167 (2d Cir. 2013), showed that

 2   MP3tunes and Robertson knew that major music labels generally had not

 3   even authorized their music to be distributed in the format most widely

 4   available on sideload.com, let alone authorized it to be shared on the

 5   internet. In particular, Robertson apparently knew that major record labels

 6   had not offered songs in MP3 format until 2007. In January 2007, in

 7   connection with MP3tunes’s MP3 sale model, for example, Robertson

 8   admitted that “popular acts have never before sold tracks in MP3

 9   formats.” Joint App’x 3145–46. With respect to MP3s sideloaded before

10   2007, therefore, the jury reasonably could have concluded that MP3tunes

11   and Robertson were aware of “facts and circumstances that make

12   infringement obvious.” Vimeo, 826 F.3d at 98.

13          What prompted the District Court to conclude otherwise? In

14   granting judgment as a matter of law to the defendants on this issue, the

15   District Court explained that barring MP3tunes from the DMCA safe

16   harbor “would require Defendants to actively conduct routine searches

17   and eliminate material likely to be infringing.” Capitol Records, Inc. v.

18   MP3tunes LLC, 48 F. Supp. 3d 703, 716 (S.D.N.Y. 2014). It therefore



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 1   understandably concluded that imposing such a duty clashed with the

 2   DMCA’s “express . . . disavowal of a duty to affirmatively monitor.” Id.

 3   Under the circumstances of this case, we respectfully disagree with the

 4   District Court’s assessment, primarily for three reasons.

 5          First, we think the jury could reasonably have found, based on the

 6   evidence presented, that MP3tunes had the ability to search sideload.com

 7   for MP3s sideloaded before a certain date. Indeed, at trial an expert for the

 8   plaintiffs described how he obtained a list of MP3s sideloaded before

 9   January 26, 2007. Joint App’x 1800–02. His testimony demonstrated that

10   searching through libraries of MP3 songs was a common function of

11   MP3tunes’s business.

12          Second, the jury was clearly instructed, and we presume it

13   understood, that MP3tunes had no continuing, affirmative duty to monitor

14   its servers for infringement. The jury could comply with that instruction

15   and still find that MP3tunes was required to disable access to pre‐2007

16   songs by “act[ing] expeditiously to remove, or disable access to” the pre‐

17   2007 songs “upon obtaining such knowledge or awareness.” 17 U.S.C.

18   § 512(c)(1)(A)(iii). The jury was permitted to conclude that a time‐limited,



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 1   targeted duty—even if encompassing a large number of songs—does not

 2   give rise to an “amorphous” duty to monitor in contravention of the

 3   DMCA. Viacom, 676 F.3d at 31; see also id. at 34 (suggesting that a

 4   reasonable jury could find red‐flag knowledge with respect to groups of

 5   clips).

 6             The same is true of the Beatles songs. The jury heard evidence that

 7   Robertson was unaware of any legal online distribution of Beatles tracks

 8   before 2010, other than one track used within a video game. Robertson

 9   furthermore admitted that he authored a 2009 e‐mail that showed he was

10   aware of the plaintiffs’ position that “[the] Beatles have never authorized

11   their songs to be available digitally.” Joint App’x 3165. MP3tunes was

12   further made aware through user emails that Beatles songs such as

13   “Strawberry Fields Forever” were on sideload.com’s index. The jury could

14   have reasonably concluded that MP3tunes had red‐flag knowledge of, or

15   was willfully blind to, the infringing nature of the Beatles tracks on its

16   servers and failed to “act[] expeditiously” to remove them. 17 U.S.C.

17   § 512(c)(1)(A)(iii).




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 1          Third, the jury could reasonably have found that MP3tunes

 2   conceived of and was designed to facilitate infringement based in part on

 3   evidence presented at trial that MP3tunes “actively encourage[ed]

 4   infringement” and that Robertson and MP3tunes executives “personally

 5   used [sideload.com] to download infringing material.” Columbia Pictures

 6   Indus., Inc. v. Fung, 710 F.3d 1020, 1043 (9th Cir. 2013). Although such

 7   evidence might not alone support a separate finding of red‐flag knowledge

 8   or willful blindness as to users, see Vimeo, 826 F.3d at 99, the jury could

 9   certainly rely on it in deciding whether MP3tunes was entitled to the

10   DMCA safe harbor, see Fung, 710 F.3d at 1040 (holding that “aspects of the

11   inducing behavior that give rise to liability are relevant to the operation of

12   some of the DMCA safe harbors and can, in some circumstances, preclude

13   their application”). Indeed, the jury could reasonably have understood

14   Robertson to have admitted on cross‐examination that sideload.com “was

15   premised on the notion that everything that was on the internet that was

16   not locked down could be sideloaded into the site.” Joint App’x 2342.

17   And in editing sideload.com’s Frequently Asked Questions (“FAQs”),

18   Robertson emphasized that the site should tell users that its music is “legal



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 1   to download” because “[s]ideload.com does not store any music, but

 2   rather links to files publicly available [in] other places on the net.” Joint

 3   App’x 3017.

 4          For these reasons, we reverse the District Court’s ruling vacating the

 5   jury verdict with respect to red‐flag knowledge and willful blindness for

 6   pre‐2007 MP3s and Beatles songs.7

 7          C. Statutory Damages

 8          The plaintiffs also challenge the District Court’s decision to allow

 9   only one award of statutory damages where the copyrights to the sound

10   recording and to the musical composition are owned by separate plaintiffs.

11   Section 504(c) of Title 17 provides that a “copyright owner may elect . . . to

12   recover, instead of actual damages and profits, an award of statutory

13   damages for all infringements involved in the action, with respect to any

14   one work” in an amount of up to $30,000 if the infringer acted innocently

15   or of up to $150,000 if the infringer acted willfully. “For the purposes of

16   [§ 504(c)], all the parts of a compilation or derivative work constitute one

     7We note that, should it be found on remand that MP3Tunes did not
     reasonably implement a repeat infringer policy and is therefore ineligible
     for DMCA safe harbor protection at all, the jury’s finding of red‐flag
     knowledge or willful blindness as to the above categories of songs would
     not be required to impose liability.
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 1   work.” 17 U.S.C. § 504(c)(1); see Xoom, Inc. v. Imageline, Inc., 323 F.3d

 2   279, 285 (4th Cir. 2003), abrogated on other grounds by Reed Elsevier, Inc.

 3   v. Muchnick, 559 U.S. 154 (2010). A derivative work is “a work based

 4   upon one or more preexisting works, such as a . . . sound recording.” 17

 5   U.S.C. § 101. If “there are several different versions of plaintiff’s work,

 6   each of which commands a separate copyright,” but “the defendant’s work

 7   incorporates material covered by each of those copyrights,” the Copyright

 8   Act “provides for but a single statutory damages award.” 5 Nimmer on

 9   Copyright § 14.04[E][1][b].

10          As noted, the District Court held that the plaintiffs could recover

11   only one statutory damages award for a musical composition and its

12   corresponding sound recording, even where the composition and the

13   recording were owned by separate plaintiffs. In doing so, it agreed with

14   those district courts that have concluded that infringement of a musical

15   composition and its corresponding sound recording entitles a plaintiff to

16   only one statutory damages award. See, e.g., Spooner v. EEN, Inc., No. 08‐

17   CV‐262‐P‐S, 2010 WL 1930239, at *4 (D. Me. May 11, 2010); see also

18   Reservoir Media Mgmt., Inc. v. Craze Prods., No. 1:13‐cv‐1847 (GHW),



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 1   2015 WL 5692105, at *7 (S.D.N.Y. Sept. 28, 2015) (citing with approval

 2   Judge Pauley’s reasoning in Capitol Records, but declining to decide

 3   whether the plaintiffs were entitled to multiple statutory damages awards

 4   for a musical composition and its corresponding sound recording). Other

 5   courts, meanwhile, have explained that multiple statutory damages can be

 6   awarded when the copyrights to the sound recording and the musical

 7   composition are owned by different plaintiffs. See, e.g., Teevee Toons, Inc.

 8   v. MP3.com, Inc., 134 F. Supp. 2d 546, 548 (S.D.N.Y. 2001) (concluding that

 9   “where . . . the plaintiffs owning the copyrights on the musical

10   compositions are separate from the plaintiffs owning the copyrights on the

11   sound recordings, each may recover statutory damages”).

12          A plain reading of the Copyright Act’s text supports the District

13   Court’s conclusion. See Patry on Copyright § 22:186 (“Sound recordings

14   are defined in section 101 as a species of derivative work of the underlying

15   musical composition, and, as such, both fall within the one work, one

16   award rule for statutory damages that only award[s] for infringement of

17   both works . . . regardless of whether there are different owners.”).




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 1          Both the House Report and the Senate Report accompanying the

 2   Copyright Act reinforce this point:

 3            Subsection (c)(1) [of 17 U.S.C. § 504] makes clear . . . that,
 4            although they are regarded as independent works for other
 5            purposes, “all the parts of a compilation or derivative work
 6            constitute one work” for th[e] purpose [of assessing
 7            statutory damages]. Moreover, although the minimum and
 8            maximum amounts are to be multiplied where multiple
 9            “works” are involved in the suit, the same is not true with
10            respect to multiple copyrights, multiple owners, multiple
11            exclusive rights, or multiple registrations. This point is
12            especially important since, under a scheme of divisible
13            copyright, it is possible to have the rights of a number of
14            owners of separate “copyrights” in a single “work”
15            infringed by one act of a defendant.

16   H.R. Rep. No. 94‐1476, at 162 (1976); S. Rep. No. 94‐473, at 144

17   (1975). In our view, then, Congress did not intend for separate

18   statutory damages awards for derivative works such as sound

19   recordings, even when the copyright owner of the sound recording

20   differs from the copyright owner of the musical composition.

21          In sum, the District Court’s decision to permit only one

22   award of statutory damages for the musical composition and

23   corresponding sound recording comports with both the plain text

24   and the legislative history of the Copyright Act. We therefore

25   affirm that part of the judgment.

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 1       II.      Robertson’s Appeal

 2             Robertson’s cross‐appeal challenges several rulings of the

 3   District Court, some relating to the liability of MP3tunes and some

 4   relating to his own personal liability. We address each challenge in

 5   turn.

 6             A. MP3tunes’s Liability

 7                i.    Red‐Flag Knowledge and Willful Blindness

 8             Robertson challenges the District Court’s ruling on red‐flag

 9   knowledge and willful blindness. In particular, he argues that the District

10   Court erred in upholding the jury’s verdict of red‐flag knowledge and

11   willful blindness with respect to songs sideloaded from personal file

12   storage sites and student‐run college webpages with what are alleged to be

13   “obviously infringing” URLs.8

14             “The hypothetical ‘reasonable person’ to whom infringement must

15   be obvious is an ordinary person—not endowed with specialized


     8Robertson also asserts that the District Court was wrong to conclude that
     MP3tunes had red‐flag knowledge of the infringement of “Strawberry
     Fields Forever.” Because we reverse the District Court’s determination
     regarding red‐flag knowledge or willful blindness with respect to all
     Beatles songs, including “Strawberry Fields Forever,” we need not address
     this argument.
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 1   knowledge or expertise concerning music or the laws of copyright.”

 2   Vimeo, 826 F.3d at 93–94. That said, “[i]t is . . . entirely possible that an

 3   employee of the service provider . . . may well have known that [a] work

 4   was infringing, or known facts that made this obvious.” Id. at 97. “If the

 5   facts actually known by an employee of the service provider make

 6   infringement obvious, the service provider cannot escape liability through

 7   the mechanism of the safe harbor.” Id.

 8          The trial evidence supported the plaintiffs’ argument that Robertson

 9   and MP3tunes executives knew that personal file storage sites and college

10   student webpages were distributing infringing files. There was also

11   evidence that Robertson himself sideloaded from personal websites, and

12   that other MP3tunes executives regularly sideloaded from these sites. The

13   jury could therefore conclude that MP3tunes knew that songs from sites

14   with personal file storage or college URLs were available on sideload.com

15   and that those sites were “obviously infringing,” yet failed to act on that

16   information. For these reasons, we affirm the District Court’s order

17   denying judgment as a matter of law with respect to this category of songs.




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 1              ii.    Direct Liability for Infringement of Cover Art

 2          At trial, the jury found that MP3tunes was liable for directly and

 3   willfully infringing all 296 works of cover art associated with the plaintiffs’

 4   songs and albums. The District Court partially upheld that jury verdict

 5   when it ruled on Robertson’s motion for judgment as a matter of law,

 6   although it granted the motion and vacated the verdict as to some of the

 7   cover art. On appeal, Robertson contends that the entire verdict relating to

 8   cover art infringement should have been vacated. We disagree.

 9          “[V]olitional conduct is an important element of direct liability.”

10   Cartoon Network, 536 F.3d at 131. The District Court instructed the jury as

11   follows: “When a person or company itself copies, distributes, publicly

12   performs, or displays the copyrighted work without authorization or other

13   defense, it is considered a ‘direct infringement.’ In order to be a direct

14   infringer, a person or company must have engaged in a volitional act that

15   causes the alleged copying.” Joint App’x 4380. Robertson asserts that

16   MP3tunes could not have engaged in a “volitional act” with respect to the

17   cover art infringement because the retrieval of that art was not directed by




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 1   MP3tunes but rather obtained from Amazon.com at the direction of the

 2   user when the user selected a song.

 3          The record contradicts Robertson on this point. MP3tunes’s

 4   employees testified that the company’s LockerSync system was designed

 5   to retrieve one aspect of a copyrighted work (the album art) whenever a

 6   user uploaded another aspect of a copyrighted work (the song). In other

 7   words, the system retrieved a copyrighted item that a user did not request,

 8   frequently without the user’s knowledge of the copyrighted nature of the

 9   item. This constituted enough evidence, in our view, that copying of the

10   cover art was directed by MP3tunes, not users.9 And a jury reasonably

11   could also infer that each of the 296 images had been downloaded from

12   Amazon.com at least once because the evidence presented at trial showed

13   that each image was actually downloaded several times.

14          Robertson follows up by arguing that the plaintiffs’ cover art

15   copyrights themselves are invalid. First, he contends, the plaintiffs

16   improperly used a Form SR (also used for the corresponding sound

     9For the same reason, we reject Robertson’s argument that MP3tunes was
     entitled to DMCA protection under § 512(c) for cover art infringement. As
     Robertson acknowledges, the subsection covers only “infringement of
     copyright by reason of the storage at the direction of a user.” 17 U.S.C.
     § 512(c)(1) (emphasis added).
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 1   recording) to register the cover art copyrights. We reject that argument.

 2   Pursuant to 37 C.F.R. § 202.3, the SR class “includes all published and

 3   unpublished sound recordings,” and “[c]laims to copyright in literary,

 4   dramatic, and musical works embodied in phonorecords may also be

 5   registered in this class under paragraph (b)(4) of this section” if certain

 6   conditions are met. Because visual works are not explicitly listed as a

 7   category that can also be included in SR copyrights, Robertson argues that

 8   the plaintiffs’ registration of cover art on Forms SR renders their cover art

 9   copyrights invalid. But a few years ago the Copyright Office issued a

10   circular that expressly sanctioned the use of a Form SR to register both the

11   recording and associated images. See Copyright Office, Copyright

12   Registration for Sound Recordings, Copyright Circular #56, at 3 (Aug.

13   2012) (providing instructions for how to fill out a Form SR “if the claim

14   includes artwork, photographs, and/or liner notes”). The Copyright

15   Office’s interpretations of the Copyright Act are entitled to some deference

16   insofar as we deem them to be persuasive. See Morris v. Bus. Concepts,

17   Inc., 283 F.3d 502, 505–06 (2d Cir. 2002). Here, we are persuaded by the

18   Copyright Office’s apparent view that there is no logical distinction



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 1   between “literary” works and “visual” works associated with a sound

 2   recording such that the former is properly registered on a Form SR but the

 3   latter is not.

 4          Robertson separately claims that the copyrights are invalid because

 5   the Forms SR fail to list the authors of the cover art. But the forms were

 6   registered as works‐for‐hire, which do not require a separate identification

 7   of artists. Moreover, a certificate of registration with inaccurate

 8   information is invalid only if, among other things, the registrant knew it

 9   was inaccurate. 17 U.S.C. § 411. There is no evidence on this record that

10   the certificates of registration at issue here were inaccurate. And, even if

11   there were, there is no evidence that the plaintiffs knew the copyrights

12   inaccurately described authorship.

13              iii.   Liability for Infringement by MP3tunes Executives

14          In addition to finding MP3tunes liable for its own infringement and

15   for the infringement of its users, the jury held MP3tunes liable for the

16   sideloading activity of three MP3tunes executives (Emily Richards,

17   Douglas Reese, and Mark Wooten) under a theory of respondeat superior.

18   Robertson argues that there was insufficient evidence that these employees



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 1   acted within the scope of their authority and in furtherance of MP3tunes’s

 2   business when downloading the challenged songs.

 3          We think there was sufficient evidence for a rational jury to

 4   conclude that MP3tunes was liable under a respondeat superior theory.

 5   Among other evidence admitted at trial, Reese wrote an email asserting

 6   that “we [MP3tunes employees] would see[d] the [sideload.com] index

 7   with higher quality tracks.” Joint App’x 2049. An MP3tunes employee

 8   testified that she and other MP3tunes employees “specifically sought out

 9   websites on the Internet to locate files and sideload them into the Sideload

10   index,” and that they all did so “as employees of MP3tunes.” Joint App’x

11   2057. Robertson directed that the same employee provide other MP3tunes

12   employees a “list of some sites featuring free MP3s” “for sideloading

13   purposes.” Joint App’x 1957. There was also ample evidence from which

14   a juror could reasonably have inferred that these executive sideloads were

15   performed from MP3tunes’s offices. And it was clearly in MP3tunes’s

16   interest to increase the number of quality songs on sideload.com by using

17   its employees to expand the index.




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 1          B. Robertson’s Liability

 2              i.     Personal Jurisdiction

 3          Robertson challenges the District Court’s personal jurisdiction ruling

 4   on various grounds. We review a District Court’s ruling on personal

 5   jurisdiction de novo. See Bank Brussels Lambert v. Fiddler Gonzalez &

 6   Rodriguez, 305 F.3d 120, 124 (2d Cir. 2002).

 7          Relying on Walden v. Fiore, 134 S. Ct. 1115 (2014) and Daimler AG

 8   v. Bauman, 134 S. Ct. 746 (2014), Robertson argues as an initial matter that

 9   the District Court erred in imputing MP3tunes’s contacts with New York

10   to him. But Robertson was no mere employee of MP3tunes. He was its

11   founder and CEO, and he exercised extensive control over MP3tunes’s

12   day‐to‐day activities. According to one MP3tunes employee, “no one

13   made any final decisions other than Michael.” Joint App’x 1173. Under

14   these circumstances, it was appropriate for the District Court to consider

15   the scope of MP3tunes’s activities in New York in evaluating whether it

16   could exercise personal jurisdiction over Robertson. See Retail Software

17   Servs., Inc. v. Lashlee, 854 F.2d 18, 23 (2d Cir. 1988). “[T]his is not a case




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1   where an individual defendant who is unaffiliated with a corporation is

2   being haled into court by a large multinational corporation.” Id.10

3          Robertson also argues that, in any event, he and MP3tunes

4   combined lacked sufficient “minimum contacts” as required by the Due

5   Process Clause. But Robertson was aware both that MP3tunes had at least

6   400 users located in New York and that his company provided services to

7   New York customers. Under these circumstances, the District Court’s

8   exercise of personal jurisdiction over Robertson comported with due

9   process. He knew, in other words, that MP3tunes had “purposefully


    10 Neither Daimler nor Walden compels a different conclusion. Daimler
    addressed general jurisdiction, not specific jurisdiction, and Robertson
    does not dispute that there is an “affiliation between the forum [of New
    York] and the underlying controversy” such that only specific jurisdiction
    is needed over Robertson. Licci ex rel. Licci v. Lebanese Canadian Bank,
    SAL, 732 F.3d 161, 170 (2d Cir. 2013) (quoting Goodyear Dunlop Tires
    Operations, S.A. v. Brown, 564 U.S. 915, 919 (2011)). The Supreme Court
    expressly declined to “pass judgment on invocation of an agency theory in
    the context of general jurisdiction.” Daimler AG, 134 S. Ct. at 759‐60.
    Meanwhile Walden held that a defendant’s relationship with a forum state
    “must arise out of contacts that the ‘defendant himself’ creates with the
    forum State.” 134 S. Ct. at 1122 (quoting Burger King Corp. v. Rudzewicz,
    471 U.S. 462, 475 (1985)). But the Court in Walden emphasized only that
    personal jurisdiction cannot arise from contacts between the plaintiff or
    third parties and the forum State. Id. It left unaddressed the role of a
    corporation’s activities in evaluating a court’s personal jurisdiction over its
    top executive, including where the executive is, as here, intimately
    involved with all aspects of the company’s operation.
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 1   avail[ed] [it]self of the privilege of conducting activities within [New

 2   York], thus invoking the benefits and protections of its laws.” See Chloé v.

 3   Queen Bee of Beverly Hills, LLC, 616 F.3d 158, 171 (2d Cir. 2010) (quoting

 4   Burger King Corp. v. Rudzewicz, 471 U.S. 462, 475 (1985)). “[J]urisdiction

 5   is appropriate in New York because [MP3tunes] has developed and served

 6   a market for its products there.” Id. That MP3tunes served a national

 7   market, as opposed to a New York‐specific market, has little bearing on

 8   our inquiry, as attempts to serve a nationwide market constitute “evidence

 9   of [the defendant’s] attempt to serve the New York market, albeit

10   indirectly.” Kernan v. Kurz‐Hastings, Inc., 175 F.3d 236, 243 (2d Cir. 1999);

11   see Chloé, 616 F.3d at 171.

12          Finally, Robertson insists that the District Court should have

13   required the plaintiffs to establish that the District Court had personal

14   jurisdiction over him by a preponderance of the evidence at a hearing or at

15   trial. But we are not persuaded that the District Court erred in

16   determining that it had personal jurisdiction over Robertson without

17   holding a hearing or putting that issue to the jury. On a summary

18   judgment motion, a judge may “properly examine[] the record to



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 1   determine if there [are] undisputed facts that could resolve the

 2   jurisdictional issue.” Ball v. Metallurgie Hoboken‐Overpelt, S.A., 902 F.2d

 3   194, 197 (2d Cir. 1990). Robertson did not challenge the facts that the

 4   District Court deemed most persuasive in finding personal jurisdiction:

 5   that he had engaged in previous litigation with record companies in New

 6   York based on similar infringing activities; that MP3tunes had a number of

 7   users in New York; and that Robertson had extensive control over

 8   MP3tunes. See Joint App’x 1135. For these reasons, we conclude that the

 9   District Court did not err in determining at the summary judgment stage

10   that it could exercise personal jurisdiction over Robertson.

11              ii.    Vicarious and Contributory Liability

12          In addition to attacking the District Court’s exercise of personal

13   jurisdiction over him, Robertson argues that there was insufficient

14   evidence to support the jury’s finding that he was vicariously or

15   contributorily liable for MP3tunes’s infringements. In the same vein, he

16   adds that the District Court’s jury instructions regarding vicarious and

17   contributory liability were erroneous.




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 1          We start with Robertson’s challenge to the jury’s vicarious liability

 2   finding and the District Court’s jury instructions. Vicarious liability for

 3   copyright infringement may arise only when the defendant had the “right

 4   and ability to supervise [that] coalesce[d] with an obvious and direct

 5   financial interest in the exploitation of copyrighted materials.” Softel, Inc.

 6   v. Dragon Medical & Sci. Commc’ns, Inc., 118 F.3d 955, 971 (2d Cir. 1997)

 7   (alteration in original) (quoting Shapiro, 316 F.2d at 307). An increase in

 8   subscribers or customers due to copyright infringement qualifies as an

 9   “obvious and direct financial interest.” See Shapiro, 316 F.2d at 307. With

10   these principles in mind, we conclude that the District Court did not err

11   when it instructed the jury that an “obvious and direct financial interest . . .

12   may be established where infringing material acts as a ‘draw’ to attract

13   subscribers to a defendant’s business, even if it is not the primary, or even

14   a significant draw.” Joint App’x 2423–24; see also Owen v. Thermatool

15   Corp., 155 F.3d 137, 139 (2d Cir. 1998).

16          And here there was ample evidence to support the jury’s finding,

17   aided by a proper instruction, that Robertson was vicariously liable for

18   copyright infringement. Among other things, an MP3tunes employee



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 1   testified that she and other employees “used Sideload marketing efforts to

 2   try to get people to sign up for lockers” and emphasized the availability of

 3   free music on sideload.com “in connection with trying to get users to

 4   purchase lockers.” Joint App’x 2059. Meanwhile, Robertson sought to use

 5   sideload.com to attract free users to MP3tunes whom MP3tunes could

 6   thereafter “upsell” to premium lockers. Joint App’x 2337. There was also

 7   evidence that Robertson, through a trust, was the near‐exclusive funder of

 8   MP3tunes and thus had an “obvious and direct financial interest” in

 9   infringement that drew subscribers to MP3tunes.com. Cf. Softel, 118 F.3d

10   at 971. The jury thus had sufficient evidence to find Robertson vicariously

11   liable in this case.

12          Robertson’s challenge to the jury’s contributory liability finding

13   fares no better. A contributory infringer is “one who, with knowledge of

14   the infringing activity, induces, causes or materially contributes to the

15   infringing conduct of another.” Gershwin Publ’g Corp. v. Columbia

16   Artists Mgmt., Inc., 443 F.2d 1159, 1162 (2d Cir. 1971). “[O]ne who

17   distributes a device with the object of promoting its use to infringe

18   copyright, as shown by clear expression or other affirmative steps taken to



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 1   foster infringement, is liable for the resulting acts of infringement by third

 2   parties.” Metro‐Goldwyn‐Mayer Studios Inc. v. Grokster, Ltd., 545 U.S.

 3   913, 919 (2005).

 4          Based on our review of the trial record, we reject Robertson’s

 5   challenge to the jury’s verdict finding him liable for contributory

 6   infringement based on the infringing activities of both MP3tunes

 7   executives and MP3tunes users. Robertson personally encouraged his

 8   employees to sideload songs to add to the index. Many of those songs

 9   were from sites that contained “pirated material.” The entire point of

10   sideloading to the index was to make more music available for user

11   download—even though Robertson knew the music was generally not

12   available for free in MP3 form. See id. at 936. This, in turn, aided and

13   abetted infringement by sideload.com users.

14          Nor are we persuaded by Robertson’s argument that the District

15   Court should have instructed the jury that his participation needed to be

16   substantial and to have had a direct relationship to the infringement in

17   order to find him liable for contributory infringement. The District Court

18   instructed the jury as follows: “A defendant is liable for contributory



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 1   infringement if, one, with knowledge of the infringing activity, two, that

 2   defendant introduces, causes, or materially contributes to the infringing

 3   conduct of another.” Joint App’x 2424. We have not previously insisted

 4   on use of the phrase “substantially contributes” rather than “materially

 5   contributes” in the context of a jury instruction about contributory

 6   infringement. To the contrary, we have more often regarded the words

 7   “material” and “substantial” as synonymous. See Substantial, Black’s Law

 8   Dictionary (10th ed. 2014). We conclude that the District Court’s use of the

 9   phrase “materially contributes” rather than “substantially contributes”

10   was not misleading and adequately informed the jury of the law. See

11   Owen, 155 F.3d at 139. We also think that the District Court was not

12   required to instruct the jury specifically that there had to be a “direct

13   relationship” between the contributor’s activities and the infringement.

14   We have never held that such an instruction was necessary. In any event,

15   the District Court’s instruction adequately captured the necessary

16   relationship when it reminded the jury that a defendant “materially

17   contributes to the infringing conduct of another if the defendant engages




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 1   in personal conduct that is part of, encourages, or assists the

 2   infringement.” Joint App’x 2425.

 3          Robertson relies on Sony Corp. of America v. Universal City Studios,

 4   Inc., 464 U.S. 417, 442 (1984), to suggest more broadly that he cannot be

 5   held secondarily liable as a matter of law. In Sony, the Supreme Court

 6   held that when a product is capable of “substantial noninfringing uses,” its

 7   manufacturer cannot be liable simply for knowing that the product could

 8   be used in a way that would constitute infringement. Id. at 456. But the

 9   Supreme Court has since clarified that “where evidence goes beyond a

10   product’s characteristics or the knowledge that it may be put to infringing

11   uses, and shows statements or actions directed to promoting infringement,

12   Sony’s staple‐article rule will not preclude liability.” Grokster, 545 U.S. at

13   935. Here, the evidence showed that Robertson acted in a manner

14   intended to promote infringement. We therefore reject Robertson’s

15   argument based on Sony.

16          C. Damages

17          Finally, Robertson challenges the District Court’s award of statutory

18   and punitive damages. We address each challenge in turn.



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 1              i.   Statutory Damages

 2          Robertson claims that the District Court’s award of multiple

 3   statutory damages for music singles and the albums on which they appear

 4   was error. As previously noted, statutory damages are awarded for

 5   infringement of each copyrighted “work.” 17 U.S.C. § 504(c). Several of

 6   the songs relevant to the trial were issued both as singles and as part of

 7   albums. The District Court instructed the jury that, so long as the plaintiffs

 8   proved that “on the date of infringement, each individual sound recording

 9   at issue in this case was available for purchase as a single,” it could issue

10   multiple statutory damages awards for singles that appeared on the same

11   album. Capitol Records, 48 F. Supp. 3d at 721. The jury found that each

12   song was available for purchase as a single on the date of infringement.

13          Materials that are sold as part of a compilation, such as songs on an

14   album, ordinarily are not deemed separate works for the purpose of

15   determining statutory damages. See Bryant v. Media Right Prods., Inc.,

16   603 F.3d 135, 141 (2d Cir. 2010); 17 U.S.C. § 504(c)(1) (“[A]ll the parts of a

17   compilation . . . constitute one work.”). But when a copyright holder or

18   publisher issues material on an independent basis, the law permits a



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 1   statutory damages award for each individual work. See Twin Peaks

 2   Prods., Inc. v. Publ’ns Int’l, Ltd., 996 F.2d 1366, 1381 (2d Cir. 1993). In

 3   other words, our “focus[] [is] on whether the plaintiff—the copyright

 4   holder—issued its works separately, or together as a unit.” Bryant, 603

 5   F.3d at 141. For these reasons, we conclude that the District Court

 6   properly allowed separate statutory damages awards for songs that the

 7   plaintiffs issued as singles, even if those songs were also made available on

 8   albums.

 9          And there was evidence at trial that all the songs in question were

10   made available as singles on the date of infringement. For example, an

11   EMI and Capitol Records executive testified that, with the exception of

12   tracks by Bob Seger and the Beatles, as well as one track by Pink Floyd,

13   EMI’s entire catalog was available for download and sale as singles, Joint

14   App’x 2476–82, and that this amounted to “95 to 98 percent of our total

15   catalogue available,” Joint App’x 2482. Based on this and other evidence,

16   the District Court did not err in upholding the jury’s verdict of statutory

17   damages.




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 1              ii.    Punitive Damages

 2          In addition to statutory damages on the plaintiffs’ Copyright Act

 3   claims, the jury awarded $7.5 million in punitive damages against

 4   Robertson on the plaintiffs’ common law claims. Robertson now argues

 5   that the reduced award of $750,000 violated his right to due process. We

 6   disagree. In granting this reduced award, the District Court properly

 7   analyzed the factors enumerated in State Farm Mutual Automobile

 8   Insurance Co. v. Campbell: “the degree of reprehensibility of [Robertson’s]

 9   misconduct”; “the actual or potential harm suffered by the plaintiff” as

10   compared to “the punitive damages award”; and “the difference between

11   the punitive damages awarded by the jury and the civil penalties

12   authorized or imposed in comparable cases.” 538 U.S. 408, 418 (2003).

13                                      CONCLUSION

14          We have considered the parties’ remaining arguments on appeal

15   and conclude that they are without merit. For the foregoing reasons, we:

16          (1) VACATE the District Court’s grant of partial summary judgment

17   to the defendants based on its conclusion that MP3tunes qualified for safe




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 1   harbor protection under the DMCA because the District Court applied too

 2   narrow a definition of “repeat infringer”;

 3          (2) REVERSE the District Court’s grant of judgment as a matter of

 4   law to the defendants on claims that MP3tunes permitted infringement of

 5   plaintiffs’ copyrights in pre‐2007 MP3s and Beatles songs because there

 6   was sufficient evidence to allow a reasonable jury to conclude that

 7   MP3tunes had red‐flag knowledge of, or was willfully blind to, infringing

 8   activity involving those categories of protected material;

 9          (3) REMAND for further proceedings related to claims arising out of

10   the District Court’s grant of partial summary judgment; and

11          (4) AFFIRM the judgment in all other respects.




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